Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 1 of 9 PageID: 27
Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 2 of 9 PageID: 28
Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 3 of 9 PageID: 29
Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 4 of 9 PageID: 30
Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 5 of 9 PageID: 31
Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 6 of 9 PageID: 32
Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 7 of 9 PageID: 33
Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 8 of 9 PageID: 34
Case 3:17-cv-06068-LHG Document 7 Filed 11/07/17 Page 9 of 9 PageID: 35
